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                                                                                            leT COURT
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                         IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                                   INDICTMENT

                        Plaintiff,                   18 U.S.C. § 844(i), Arson Damaging
                                                     Property in Interstate Commerce
       vs.                                           (Counts 1 and 3);

WALTER EDMUND BOND,                                  18 U,S.c. § 43, Force, Violence and
                                                     Threats Involving Animal Enterprises
                        Defendant.                   (Counts 2 and 4) . -
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                                                                                     -.---.~.




                                                     Case: 2: 1O-cr-00844
                                                     Assigned To : Stewart, Ted
       The Grand Jury charges:                       Assign. Date: 9/15/2010
                                                     Description: USA v

                                            COUNT 1

             On or about June 5, 2010, in the Central Division of the District of Utah,

                                     WALTER EDMUND BOND,

the defendant herein, did maliciously damage and destroy, and attempt to damage and

destroy, by means of fire, a building and other real and personal property used in interstate

and foreign commerce, including the building and contents of a Tandy Leather Factory Store

in Salt Lake City, Utah; all in violation of Title 18, Section 844(i) of the United States Code.


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                                                 COUNT 2

             On or about June 5,2010, in the Central Division ofthe District of Utah,

                                      WALTER EDMUND BOND,

     the defendant herein, did travel in interstate commerce, for the purpose of damaging and
                                                                                     ,

     interfering with the operations of a Tandy Leather Factory Store, an animal enterprise, and in

     connection with that purpose, did intentionally damage and cause the loss of real and

     personal property used by an animal enterprise, which damage and loss exceeded $10,000.00,

     including products, as well as the interior and exterior of the building; all in violation of Title

     18, Sections 43( a) and 43(b)(2) of the United States Code.



                                                 COUNT 3

             On or about July '2, 2010, in the Central Division of the District of Utah,

                                      WALTER EDMUND BOND,

     the defendant herein, did maliciously damage and destroy, and attempt to damage and

     destroy, by means of fire, a building and other real and personal property used in interstate

     and foreign commerce, including the building and contents of Tiburon Fine Dining, a

     restaurant in Sandy, Utah; all in violation of Title 18, Section 844(i) of the United States

     Code,




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           On or about July 2, 2010, in the Central Division of the District of Utah,

                                    WALTER EDMUND BOND,

    the defendant herein, did travel in interstate commerce, for the purpose of damaging and

    interfering with the operatiQns ofthe Tiburon Fine Dining restaurant, an animal enterprise,

    and in connection with that purpose, did intentionally damage and cause the loss of real and

    personal property used by an animal enterprise, which damage and loss exceeded $10,000.00,

    including the interior and exterior of the building; all in violation of Title 18, Sections 43(a)

    and 43(b)(2) of the United States Code.



                                                 A TRUE BILL:



                                                 FOREPERS


    CARLIE CHRISTENSEN
    United States Attorney




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